                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF NORTH CAROLINA


PANFILO GONZALES SANTOS a/k/a PANFILO  )
GONZALEZ SANTOS, BENJAMIN GONZALEZ     )
SANJUAN, and GILBERTO GONZALEZ         )
SANJUAN, on behalf of themselves and   )
all other similarly situated persons,  )
                                       )
                 Plaintiffs,           )            CLASS ACTION
                                       )
v.                                     )            COMPLAINT
                                       )
M.A.C. GRADING CO., CHRISTOPHER HALES, )            COLLECTIVE ACTION § 216(b)
and MELISSA D. HALES,                  )            Civil Action No.:
                                       )
                       Defendants.     )
_______________________________________)
I.   PRELIMINARY STATEMENT

     1.     This   is   a   collective   action    pursuant    to   the   Fair   Labor
Standards Act ("FLSA"), 29 U.S.C. §216(b), and a class action under the

NC Wage and Hour Act ("NCWHA"), N.C.Gen.Stat. §§95-25.1 et seq. by three
former employees against a closely held corporate defendant operated by
the husband and wife defendants for their pallet construction and repair
business enterprise in and around Autryville in Sampson County, North
Carolina.

     2.     The    defendant   corporation   was    and   is    part   of   a    single
business enterprise operated by its owner/officers defendants Melissa D.
Hales and Christopher Hales since at least 1998 in one or more counties

in North Carolina that are listed in 28 U.S.C. §§ 113(a).                 This action
is brought under the FLSA for unpaid overtime wages based upon the

defendants’ failure to pay the named plaintiffs and the group of workers

they seek to represent in a collective action pursuant to 29 U.S.C. §
216(b) the wages they were due at the overtime rate required by 29

U.S.C. §207 when the defendants jointly and severally employed the

plaintiffs and that group of workers to perform hours worked in excess



                                         1


          Case 7:19-cv-00219-D Document 1 Filed 11/07/19 Page 1 of 22
of forty hours in the same workweek.

     3.     It is also brought as a class action under N.C.Gen.Stat. §§
95-25.6, 95-25.13(1)-(2), and 95-25.22(a)-(a1) and 95-25.22(d) based

upon the defendants’ failure to pay all promised wages when due on the

regular scheduled payday for the plaintiffs and those employees who are
similarly situated to them based upon the defendants’ failure to pay

promised wages at 1½ the promised regular rate for all hours worked by

the plaintiffs and other similarly situated persons whom the defendants
employed to construct or repair pallets as part of the commercial pallet
construction and repair business enterprise operated by the defendants.

     4.     In   the   alternative,   in   the   event   that   the   plaintiff’s

employment by the defendants in excess of 40 hours in the same workweek
is not covered by § 207(a) of the FLSA, this action is brought under
Rule 23(b)(3), Fed.R.Civ.P., N.C.Gen.Stat. §§ 95-25.4 and 95-25.22(a)-

(a1) of the NCWHA based upon the defendants’ failure to pay the named
plaintiffs and all similarly situated employees all wages when due for
all hours worked at the overtime rate required by N.C.Gen.Stat. § 95-
25.4 for those workweeks in which the hours worked by the plaintiffs and
those other similarly situated employees were in excess of forty hours

in the same workweek.

     5.     Based upon their claims under 29 U.S.C. § 207 of the Fair
Labor Standards Act, their NCWHA claims under N.C.Gen.Stat. §§ 95-25.6,

95-25.13(1)-(2), 95-25.22(a), and 95-25.22(a1) that are described in ¶3

above, and the plaintiffs’ alternative claims under N.C.Gen.Stat. §§ 95-
25.4, 95-25.22(a), and 95-25.22(a1) of the NCWHA that are described in

¶4 above, the plaintiffs, and the class and the collective group of
workers they seek to represent under the FLSA and the NCWHA seek payment

of back wages and an equal amount of liquidated damages, attorney fees,



                                       2


          Case 7:19-cv-00219-D Document 1 Filed 11/07/19 Page 2 of 22
interest, and costs under 29 U.S.C. §216(b) and N.C.Gen.Stat. §§95-

25.22(a), (a1), and (d).
II.   JURISDICTION
      6.         Jurisdiction is conferred upon this Court pursuant to 28

U.S.C. §§1331 and 1337, 29 U.S.C. § 216(b), and 28 U.S.C. §1367(a).
      7.         This Court has the power to grant declaratory relief pursuant

to 28 U.S.C. Sections 2201 and 2202.

III. VENUE

      8.         Venue over this action lies in this Court pursuant to 28

U.S.C. §§1391(b)(2), 1391(c)(2), and 1391(d), and 29 U.S.C. §216(b).                   At
all times relevant to this action continuing through the present date, a

substantial part of the events or omissions by the defendants giving
rise to this action occurred in one or more of the counties listed in 28
U.S.C. § 113(a), and defendants had and continues to have permanent

offices located at 971 Leroy Autry Road, Autryville, North Carolina
28318 at all times relevant to this action.
IV.   NAMED PLAINTIFFS

      9.         From well before August 2015 and continuing through at least
August     21,    2018,   Plaintiffs   Panfilo   Gonzales      Santos   also   known   as
(a/k/a) Panfilo Gonzalez Santos, Benjamin Gonzalez Sanjuan, and Gilberto

Gonzalez Sanjuan were all continuously employed by M.A.C. Grading Co. in

the pallet construction and repair enterprise operated by defendants
Melissa D. Hales and Christopher Hales.            During that entire time period

and   continuing      through   the    present   date,   all   plaintiffs      lived   and

continue to live in Sampson County, North Carolina.
      10.        During the entire time period described in paragraph 9 above
and for the entire time period described in paragraph 24 below, the work

of the plaintiffs and the employees of the defendants that they seek to



                                            3


           Case 7:19-cv-00219-D Document 1 Filed 11/07/19 Page 3 of 22
represent was, is, and will be in the production or repair of wooden

pallets that, upon information and belief, were, are, and will be for
interstate commerce that were, are, and will be in substantial part sold

to buyers and/or for use outside of North Carolina.

        11.        During     each    of   the   four     chronological     years    immediately
preceding the date on which this action was filed and for the entire

time    period       described       in    paragraph      24   below,    upon    information    and

belief, the plaintiffs and the workers that they week to represent were
employed in an enterprise that was owned and operated by the defendants
that:

                   (a)   had and has employees handling, selling, or otherwise

working on goods or materials that have been moved in or produced for
interstate commerce by some person or entity other than the defendants,
and

                   (b)   is    and     for   each       chronological     year    starting     with
October       1,    2015      and    continuing     through     the     present   date,   was   an
enterprise whose annual gross volume of sales made or business done is
and was not less than $500,000 (exclusive of excise taxes at the retail
level that are separately stated).
V.      DEFENDANTS
        12.        At all times relevant to this action, the defendant closely

held for profit corporation M.A.C. Grading Co. (hereinafter referred to
as “MAC”) was and continues to be a single business enterprise owned and

operated by defendants Christopher Hales and his spouse Melissa D. Hales

since at least 2011.
        13.        At all times relevant to this action, defendant MAC engaged

in the construction and repair of wooden pallets for the use and sale of

those pallets in interstate commerce.



                                                    4


          Case 7:19-cv-00219-D Document 1 Filed 11/07/19 Page 4 of 22
      14.     On information and belief, at all times relevant to this

action, the facility at which defendant MAC engaged in the construction
and repair of pallets was and continues to be located at 971 Leroy Autry

Road, Autryville, Sampson County, North Carolina 28318.
VI.   FLSA STATUTORY CLASS ACTION ALLEGATIONS

      15.     The named plaintiffs maintain this action against all of the

defendants, jointly and severally, for and on behalf of himself and all
other similarly situated current and/or former joint employees of the

defendants who jointly employed them and those other similarly situated
persons to perform hours worked in the construction and repair of

pallets in and around Sampson County, North Carolina for each workweek

ending in the three chronological years immediately preceding the date
on which this action was filed and continuing thereafter ending on the
date final judgment in this action is entered by a U.S. District Court
pursuant to the statutory class action procedure specified at 29 U.S.C.
§216(b) for each such similarly situated current and/or former employee

of the defendants in that same time period who files, will file, or who
has filed a written consent to be a party to this action that is
required     by   29    U.S.C.    §216(b)    within     the   applicable      statute   of

limitation(s) for any such workweek.

      16.     The statutory class of similarly situated persons under 29
U.S.C. §216(b) described in ¶15 above is based upon the failure of the
defendants to pay an overtime premium required by 29 U.S.C. § 207(a)(1)

for   all    hours     worked   over   40   in   the   same   workweek   to    the   named

plaintiffs and each member of that statutory class that the named
plaintiffs seek to represent for each hour or part of an hour of actual

work that each such similarly situated person was jointly or severally

employed by one or more of the defendants to perform hours worked in the



                                             5


            Case 7:19-cv-00219-D Document 1 Filed 11/07/19 Page 5 of 22
construction and repair of pallets as part of the defendants’ enterprise

described in ¶¶9-14 above in the time period described in ¶15 above.
VII. FIRST RULE 23(b)(3) CLASS (NCWHA §§ 95-25.6 & 95-25.13(1)-(2))
     17.     The named plaintiffs seek to represent a class of persons

under Rule 23(b)(3), Fed. R. Civ. P., for back wages and liquidated
damages under N.C. Gen. Stat. §§ 95-25.6, 95-25.13(1)-(2), and 95-25.22,

and 13 NCAC Tit. 12 §§ .0803 and .0805 that consists of the named
plaintiffs    and    all   other   similarly      situated     current    and/or   former

persons    whom    the   defendants     jointly   and    severally      employed   in   the

defendants’ enterprise described in ¶¶9-14 above who were not employed
in a bona fide executive capacity under 29 U.S.C. § 213(a)(1), and who:
     (a)     Performed hours worked in the construction and repair of
pallets as part of the defendant’s enterprise described in ¶¶9-14 above
for any workweek ending in the two chronological years immediately

preceding    the    date   on   which   this    action   was    filed    and   continuing
thereafter until a court of competent jurisdiction enters final judgment
in this action, and

     (b)     Were, are and/or shall be jointly or severally employed by
one or more of the defendants to perform hours worked more than forty
(40) hours in the same workweek but were not paid promised wages at a
rate of 1½ times the regular rate at which each such employee was or

will be jointly or severally employed by the defendants for all hours

worked over 40 in the same workweek, and
     (c)     To whom one or more of the defendants disclosed pursuant to

N.C.Gen.Stat. § 95-25.13(1)-(2) the defendants’ employment practices and

policies with regard to promised wages for those employees who worked
more than 40 hours worked in the same workweek.

     18.     On information and belief, the class defined in ¶17 above of



                                            6


          Case 7:19-cv-00219-D Document 1 Filed 11/07/19 Page 6 of 22
this complaint consists of in excess of 40 persons.                          Joinder of all

class members would be impracticable if not impossible based upon the
extreme geographic dispersion of many of the class members who are

former employees of the defendants, the limited education possessed by a

significant number of the class members, and the limited ability to
communicate in English of a significant number of the class members.

      19.        The questions of law or fact which are common to the members

of this class, and which predominate over any other questions affecting
the individual members of this class under Rule 23(b)(3), Fed. R. Civ.
P., are: (a) Whether the defendants jointly operated the enterprise that

is alleged and described in ¶¶9-14 above of this complaint? (b) Whether

the defendants jointly and severally employed the named plaintiffs and
the   class      members   defined     in    ¶¶17(a)-(c)      above   that    they   seek   to
represent as part of the enterprise that is described in ¶¶9-14 above?

(c) Whether the defendants jointly and severally employed the plaintiffs
and the members of the class defined in ¶¶17(a)-(c) above for in excess
of 40 hours worked during any workweek during the time period covered by
the class defined in ¶¶17(a)-(c) above? (d) For the work described in
¶¶17(a)-(c) above, did one or more of the defendants disclose pursuant

to N.C.Gen.Stat. §§ 95-25.13(1)-(2) to the named plaintiffs and the

members     of    the   class    defined     in       ¶¶17(a)-(c)   above   that   the   named
plaintiffs seek to represent that the defendants would pay promised

wages at 1½ times the regular rate of pay of the named plaintiffs and

the class members defined in ¶17(a)-(c) above that the named plaintiffs
seek to represent for all hours worked in excess of 40 in the same

workweek, (e) whether the defendant is covered by the FLSA; and (f)
whether     the    records      of   the    defendants      demonstrate     that   the   named

plaintiffs and the putative members of the class defined in ¶17(a)-(c)



                                                  7


          Case 7:19-cv-00219-D Document 1 Filed 11/07/19 Page 7 of 22
above performed hours worked in excess of forty (40) hours in the same

workweek?
      20.    The claim of the named plaintiffs are typical of the claims

of   the   class   of   persons   defined   in   ¶¶17(a)-(c)    above    in   that    the

defendants jointly and severally employed them and those class members
defined in ¶¶17(a)-(c) above in the enterprise described in ¶¶9-14 above

to perform hours worked in excess of 40 hours in the same workweek and

failed to pay them and those same putative class members promised wages
at 1½ times their regular hourly rate of wages for each hour or part of
an hour(s) worked that the defendants jointly and severally employed the

named plaintiffs and those same class members they seek to represent.

      21.    The named plaintiffs will fairly and adequately represent
the interests of the class of persons defined in ¶¶17(a)-(c) above of
this complaint.         The undersigned counsel for the named plaintiffs is

an experienced litigator who has been name counsel for many class
actions.
      22.    Plaintiffs’ counsel is prepared to advance litigation costs
necessary to vigorously litigate this action and to provide notice to
the members of the class defined in ¶¶17(a)-(c) under Rule 23(b)(3).

      23.    A class action under Rule 23(b)(3) is superior to other

available methods of adjudicating this controversy because, inter alia:
      (a)    The common issues of law and fact, as well as the relatively

small size of the individual claims of each member of the class defined

in ¶¶17(a)-(c) above, substantially diminish the interest of members of
the class defined in ¶¶17(a)-(c) to individually control the prosecution

of separate actions;
      (b)    Many members of the class defined in ¶¶17(a)-(c) are unaware

of   their   rights     to   prosecute   these   claims   and   lack    the   means    or



                                            8


           Case 7:19-cv-00219-D Document 1 Filed 11/07/19 Page 8 of 22
resources to secure legal assistance;

     (c)     Upon information and belief, there is no pending litigation
against the corporate and individual defendants named in this action by

the members of the class defined in ¶¶17(a)-(c) above to determine the

questions presented, and, upon information and belief, the FLSA and
NCWHA claims alleged in this action have not been the subject of any

previous litigation;

     (d)     It is desirable that the claims be heard in this forum
because the corporate defendant’s sole permanent office is located in
this district, the two individual defendants reside in this district,

and the cause of action arose in this district;

     (e)     A     class    action       can    be    managed    without      undue    difficulty
because all defendants regularly committed the violations complained of
herein,     and    were    required        to    and    did     maintain      detailed   records

concerning each member of the class defined in ¶¶17(a)-(c) above.
VIII. FACTUAL ALLEGATIONS
     24.     At    all     times    in    the    three    year    time     period     immediately
preceding    the    date    on     which       this    action   was   filed     and   continuing

thereafter, the named plaintiffs and/or the similarly situated employees
of the defendants that are described in ¶¶9-17, inclusive, above of this
complaint    were     jointly      and     severally       employed      in    the    defendants’

enterprise that is described in ¶¶9-14 above by the defendants to
construct and repair pallets for the defendants’ customers in both North

Carolina and South Carolina for varying periods of time described in

¶¶9-17, inclusive above of this complaint in that same enterprise.                            At
all times relevant to this action, the defendants regularly employed in

the defendants’ enterprise a workforce of approximately thirty (30)

employees that the two individual defendants assigned to work to perform



                                                  9


          Case 7:19-cv-00219-D Document 1 Filed 11/07/19 Page 9 of 22
different tasks on any given day.

      25.      The    defendants      jointly    and    severally    employed   the    named
plaintiffs until on or about August 21, 2018 when they were all involved

in a work action that concerned the defendants’ decision to implement a

new   and    lower    piece    rate    for   the     repair    of   pallets.    After   the
plaintiffs      and    other     employees      of     the    defendants   protested    the

defendants’ unilateral implementation of this new piece rate based upon

the plaintiffs’ belief that payment of wages strictly on the basis of
that piece rate would not allow them to earn hourly wages at a living
wage, the defendants told them that their employment was terminated.

      26.      Through at least August 21, 2018 and, upon information and

belief, continuing thereafter until the present date, the defendants
compensated their employees who were employed to repair pallets strictly
on a piece rate basis with no additional compensation regardless of the

quantity of hours worked in each workweek in which the named plaintiffs
and the employees were jointly employed by the defendants.
      27.      The    defendants      directed,      controlled,     and   supervised   the
plaintiffs’ work and the work of the employees who worked with the named
plaintiffs      at    the     defendants’       manufacturing       site   in   or    around

Autryville, North Carolina.            That direction and control included but was

not limited to, regular determinations as to specific work assignments,
deciding the number of workers who would be allowed to work at a

particular worksite along with the plaintiffs, and deciding when and for

how long the plaintiffs would be allowed compensated rest breaks during
their workday.        In 2017,

      28.      The defendants provided and paid for workers’ compensation
insurance for the work performed by the plaintiffs and the workers who

worked with the plaintiffs as part of the defendants’ enterprise.



                                                10


            Case 7:19-cv-00219-D Document 1 Filed 11/07/19 Page 10 of 22
       29.   The defendants supplied, fueled, and maintained all of the

major equipment and vehicles that were necessary for the day to day
operation of manufacturing site at which the named plaintiffs and their

co- workers constructed and repaired pallets as part of the defendants’

enterprise. The equipment supplied by the defendants included, but was
not limited to generators, saws, fuel for the generator, wood for the

pallets, and other materials and equipment.

       30.   The defendants supplied all of the funds to pay the named

plaintiffs and their co-workers, determined their rates of pay, and
when and how they were paid.

       31.   The defendants had final say as to who was hired to work on
pallets.     The defendants had the right to fire the named plaintiffs
any time as at will employees, and the defendants did not hire the
named plaintiffs or any of their co-workers for any specific duration

or any specific project.
       32.   The   defendants      had    final   say    as    to   who    was    fired   or

disciplined    for    misconduct     at    work   in    the     work     that    the   named
plaintiffs performed for the defendants.

       33.   None of the plaintiffs operates an independent business, and

they all were economically dependent upon the defendants for work and
wages on a day to day basis.

       34.   In or about 2015 and in each year thereafter until in or

about 2017, defendant Christopher Hales or some other representative
with   authority     acting   on   the    authority     of    all   of    the   defendants,

notified all plaintiffs and the similarly situated employees described

in ¶¶15 and 17(a)-(c) above that each of those same employees would be
paid at the regular hourly rate of $7.25/hour for the hours worked when

they constructed pallets in the defendants’ enterprise at any time in



                                           11


         Case 7:19-cv-00219-D Document 1 Filed 11/07/19 Page 11 of 22
calendar 2015 up until in or about 2017.

      35.     In or about 2017 and in each year thereafter, defendant
Christopher Hales or some other representative with authority acting on

the authority of all of the defendants, notified all plaintiffs and the

similarly situated employees described in ¶¶15 and 17(a)-(c) above that
each of those same employees would be paid at the regular hourly rate of

$8/hour for the hours worked when they constructed pallets in the

defendants’ enterprise at any time in calendar 2017 and thereafter.
      36.     In or about 2015 and in each year thereafter, defendant
Christopher Hales or some other representative with authority acting on

the   authority   of     all   of   the    defendants   also    notified    the   named

plaintiffs and the similarly situated employees described in ¶¶15 and
17(a)-(c) above that each of those same employees would be paid at a
piece rate basis of $0.45 per Class A Pallet they repaired when the

defendants jointly and severally employed one or more of them to repair
Class A pallets in one or more workweeks in that same time period.
      37.     In or about 2015 and in each year thereafter, defendant
Christopher Hales or some other representative with authority acting on
the authority of all of the defendants, further notified all plaintiffs

and the similarly situated employees described in ¶¶15 and 17(a)-(c)

above that each of those same employees would be paid at a piece rate
basis of $0.35 per Class B Pallet they repaired when the defendants

jointly and severally employed one or more of them to repair Class B

pallets in one or more workweeks in that same time period.
      38.     Starting   before     2015   and   continuing     without    interruption

thereafter,    when    the     named   plaintiffs   and   the    similarly    situated
employees and class that they seek to represent that are described in

¶¶15 and 17(a)-(c) above constructed pallets, the defendants paid them



                                           12


        Case 7:19-cv-00219-D Document 1 Filed 11/07/19 Page 12 of 22
at a straight hourly rate without any extra compensation for hours

worked over forty in the same workweek during that same year.
     39.     In the time period beginning with the date falling three

chronological years immediately preceding the date on which this action

was filed and ending with the date falling two chronological years
immediately preceding the date on which this action was filed, the

plaintiffs and the similarly situated employees described in ¶¶15 and

17(a)-(c)   above     worked       at   least    four    workweeks    in    which     they   all
performed    more     than    40     hours      worked    for   the      defendants     in   the
defendants’ enterprise described in ¶¶9-14 above, and constructed and/or

repaired    pallets     for   wages     that     are     described    in   ¶¶26   and    34-38,

inclusive, above of this Complaint.
     40.     In   the    time      period    beginning      with   the     date   falling    two
chronological years immediately preceding the date on which this action

was filed and ending with the date falling one chronological year
immediately preceding the date on which this action was filed, the
plaintiffs and the similarly situated employees described in ¶¶15 and
17(a)-(c), inclusive, worked at least four workweeks in which they all
performed    more     than    40     hours      worked    for   the      defendants     in   the

defendants’ enterprise described in ¶¶9-14 above, and constructed and/or

repaired    pallets     for   wages     that     are     described    in   ¶¶26   and    34-38,
inclusive, above of this Complaint..

     41.     In   the    time      period    beginning      with   the     date   falling    one

chronological years immediately preceding the date on which this action
was filed and ending with the date the date this action was filed, on

information and belief the similarly situated employees described in
¶¶15 and 17(a)-(c), inclusive, worked at least four workweeks in which

they all performed more than 40 hours worked for the defendants in the



                                                13


       Case 7:19-cv-00219-D Document 1 Filed 11/07/19 Page 13 of 22
defendants’ enterprise described in ¶¶9-14 above, and constructed and/or

repaired   pallets   for   wages   that    are   described   in    ¶¶26    and   34-38,
inclusive, above of this Complaint.

     42.    Acting pursuant to N.C.Gen.Stat. §§ 95-25.13(1)-(2), for the

years in which the plaintiffs and each member of the class defined in
¶¶17(a)-(c) above first began that person’s joint and several employment

by the defendants in the defendants’ enterprise and continuing in each

year thereafter through the present date, the defendant disclosed its
employment practices and policies with regard to promised wages to the
named plaintiffs and those persons who were and/or are members of that

same class and group.

     43.    Acting pursuant to 29 C.F.R. § 516.4 and 29 U.S.C. § 211(c),
for the year in which the plaintiffs and each member of the collective
group of employees defined in ¶15 above first began that person’s joint

and several employment by the defendants in the defendants’ enterprise
and continuing in each year thereafter through the present date, the
defendant disclosed its employment practices and policies with regard to
application of the minimum wage and overtime provisions of the FLSA to
the named plaintiffs and those persons who were and/or are members of

that same collective action.

     44.    Among    the   disclosures     described   in    ¶42   above    that   the
defendants made to the named plaintiffs and those employees who are

members of the class action defined in ¶¶17(a)-(c) above was that

defendants paid and would pay promised wages for all hours worked at 1½
times the regular hourly rate of compensation paid to the plaintiffs and

those same employees for all hours worked in excess of 40 hours in the
same workweek in the defendants’ enterprise.

     45.    Among    the   disclosures     described   in    ¶43   above    that    the



                                          14


       Case 7:19-cv-00219-D Document 1 Filed 11/07/19 Page 14 of 22
defendants made to the named plaintiffs and those employees who are

members of the collective action defined in ¶¶15-16 above was that
defendants paid and would pay wages for all hours worked at 1½ times the

regular rate of compensation paid to the plaintiffs and those same

employees for all hours worked in excess of 40 hours in the same
workweek in the defendants’ enterprise.

     46.    During all of calendar years 2015, 2016, 2017, 2018, and

2019, and continuing thereafter, the defendants failed to pay to the
named plaintiffs and the employees described in ¶¶15-16 above required
wages at 1½ times the regular rate for all hours worked over 40 in the

same workweek that the defendants jointly and severally employed the

named plaintiffs and each member of the collective action described in
¶¶15-16 above of this Complaint.
     47.    During all of calendar years 2016, 2017, 2018, and 2019, and

continuing thereafter the defendants failed to pay to plaintiffs and the
employees   described   in   ¶17(a)-(c)   above   promised   wages    under
N.C.Gen.Stat. § 95-25.13(1)-(2) and 13 NCAC Tit. 12 § .0803 at 1½ times
the regular hourly rate for all hours worked over 40 in the same
workweek that the defendants employed the named plaintiffs and each

member of the class described in ¶¶17(a)-(c) above of this Complaint.

     48.    As a direct and proximate result of the actions and omissions
that are alleged in ¶46 above, the named plaintiffs and the members of

the collective action defined in ¶¶15-16 above who worked in excess of

forty (40) hours per week in the same workweek did not receive wages at
the rate and in the amount required by 29 U.S.C. § 207 or, in the

alternative, in the amount required by N.C.Gen.Stat. § 95-25.4.
     49.    As a direct and proximate result of the actions and omissions

that are alleged in ¶47 above, the named plaintiffs and the members of



                                   15


       Case 7:19-cv-00219-D Document 1 Filed 11/07/19 Page 15 of 22
the class action defined in ¶¶17(a)-(c) above who worked in excess of

forty (40) hours per week in the same workweek did not receive promised
wages when those promised wages were due on their regular weekly payday

at the rate and in the amount required by N.C.Gen.Stat. § 95-25.6 or, in

the alternative, in the amount required by N.C.Gen.Stat. § 95-25.4.
       50.   During all of those same workweeks described in ¶¶17(a)-(c)

and 24-42, inclusive, above, the named plaintiffs and the class of

similarly situated employees defined in ¶¶17(a)-(c) above had and have
an express or implied agreement with the defendants that one or more of
the defendants would pay them all promised wages when those wages were

due on the regular payday for those wages at the rate and for the hours

worked that the defendants disclosed to them pursuant to N.C.Gen.Stat. §
95-25.13(1)-(2) for all hours worked that the named plaintiffs and those
same   similarly   situated   employees    performed   for   defendants   in   the

defendants’ enterprise as alleged above.
       51.   The defendants have not complied and, upon information and
belief, will not comply with the express or implied agreement described
in ¶50 above, and by failing to comply, has failed to pay the named
plaintiffs and the class of similarly situated employees defined in

¶¶17(a)-(c) above all of the promised wages that the named plaintiffs

and that same class of similarly situated employees were and are due
when those promised wages were due on their regular payday in violation

of G.S. § 95-25.6.

       52.   Long before 2015, each of the defendants was and continues to
be an experienced employer who was and continues to be familiar with the

FLSA and the NCWHA, and the requirements of both of those statutes with
respect to what they require and required with respect to the wage rate

to be paid for work in excess of forty (40) hours in the same workweek,



                                      16


         Case 7:19-cv-00219-D Document 1 Filed 11/07/19 Page 16 of 22
and what is and was considered to be the regular rate at which an

employee is employed under the FLSA and the NCWHA.              The defendants acted
in reckless and willful disregard of the requirements of the FLSA with

respect to these matters, and as a consequence of this willful and

reckless disregard of the rights of the plaintiffs and the members of
the collective action defined in ¶¶15-16 to payment of wages at the

overtime rate required by 29 U.S.C. § 207(a) have been violated for the

entire three-year time period immediately preceding the date on which
this action was filed.
IX.   FIRST CLAIM FOR RELIEF (FLSA § 207)
      53.   Paragraphs 1 through 52 above are realleged and incorporated
herein by reference by the named plaintiffs and each member of the

collective action described in ¶¶15-16 above of this complaint that the
named plaintiffs seek to represent pursuant to 29 U.S.C. §216(b) against
all defendants.
      54.   The   defendants   did   not    pay   all   wages    due   to   the   named
plaintiffs and the collective group of persons defined in ¶¶15-16 above

of this complaint that the named plaintiffs seeks to represent under 29
U.S.C. §216(b) at the rate required by 29 U.S.C. § 207(a) for the work
described in ¶¶9-16, inclusive, ¶¶24-41, inclusive, ¶43, ¶¶45-46, and

¶48 above of this Complaint that was part of the defendants’ enterprise

that is described in ¶¶9-14 above.
      55.   As a result of the willful and reckless disregard of the
right of the plaintiffs and the members of the collective action defined

in ¶¶15-16 above to payment of wages at the overtime rate required and
described in 29 U.S.C. § 207(a), the named plaintiffs and each such
collective action member have suffered damages in the form of unpaid

wages and liquidated damages that may be recovered under 29 U.S.C.



                                       17


        Case 7:19-cv-00219-D Document 1 Filed 11/07/19 Page 17 of 22
§216(b).
X.     SECOND CLAIM FOR RELIEF (NCWHA §§ 95-25.6 & 95-25.13(1)-(2))

       56.   Paragraphs 1 through 51 above are realleged and incorporated

herein by reference by the named plaintiffs and the class of persons
defined in ¶¶17(a)-(c) above against all defendants.

       57.   The defendants did not pay and will not pay all wages due
when those wages were and will be due to the named plaintiffs for the

work described in ¶¶9-14, 17(a)-(c), and 24-42 above of this Complaint

in    violation   of   the   agreement   described   in   ¶¶50-51   above   of   this
Complaint, the disclosures described in ¶¶42, 44, 47, 49 above, and

N.C.Gen.Stat. §§ 95-25.13(1)-(2), and 95-25.6.
       58.   As a result of these actions of the defendants in violation
of the rights of the named plaintiffs and the members of the class

defined in ¶¶17(a)-(c) above, the named plaintiffs and the members of
that class have suffered damages in the form of unpaid wages, interest
on unpaid wages, and liquidated damages that may be recovered under

N.C.Gen.Stat. §§95-25.22(a) and 95-25.22(a1).
XI.    THIRD CLAIM FOR RELIEF (Alternative Claim - NCWHA § 95-25.4)
       59.   In the alternative to the First Claim for Relief alleged in
¶¶53-55 above of the complaint, in the event that the plaintiff’s
employment by the defendants is not covered by the FLSA, ¶¶1 through 14,

and 17-47, inclusive, above are realleged and incorporated herein by
reference by the named plaintiffs against all defendants under the

NCWHA.

       60.   The defendants did not pay and will not pay all wages due
when those wages were and will be due to the named plaintiffs for the

work described in ¶¶9-14, 17(a)-(c), and 20-42, 44, 47, and 49-51,

inclusive, above of this Complaint in violation of N.C.Gen.Stat. §§ 95-



                                         18


          Case 7:19-cv-00219-D Document 1 Filed 11/07/19 Page 18 of 22
25.4 and 95-25.6.

      61.     The defendants did not pay all wages due when those wages
were due at the rate required by N.C.Gen.Stat. § 95-25.4 to the named

plaintiffs and the members of the class defined in ¶¶17(a)-(c) for the

work described in ¶¶9-14, 17(a)-(c), and 20-42, 44, 47, and 49-51,
inclusive, above of this Complaint in violation of N.C.Gen.Stat. §§ 95-

25.4 and 95-25.6.

      62.     As a result of these actions of the defendants in violation
of the rights of the named plaintiffs and the class defined in ¶¶17(a)-
(c)   above   under   N.C.Gen.Stat.   §§   95-25.4   and   95-25.6,   the   named

plaintiffs and the members of the class defined in ¶¶17(a)-(c) have

suffered damages in the form of unpaid wages, interest on those unpaid
wages, and liquidated damages that may be recovered under N.C.Gen.Stat.
§§95-25.22(a) and 95-25.22(a1).

      WHEREFORE Plaintiffs respectfully request that the Court:
      (a)     Grant a jury trial on all issues so triable;
      (b)     Certify the named plaintiffs as representative of the group
of persons defined in ¶¶15-16 above of this Complaint in a collective
action for back wages and liquidated damages under 29 U.S.C. §§ 207(a)

and 216(b) pursuant to 29 U.S.C. §216(b);

      (c)     Certify the named plaintiffs as representatives of the class
of persons defined in ¶¶17(a)-(c) above of this Complaint in a class

action for back wages and liquidated damages under N.C.Gen.Stat. §§ 95-

25.6 and 95-25.13(1)-(2) pursuant to Rule 23(b)(3) of the Federal Rules
of Civil Procedure;

      (d)     In the alternative to certification of the plaintiffs as
representative of the group of persons defined in ¶¶15-16 above as

prayed for in ¶(b) above of the Prayer for Relief, certify the named



                                      19


        Case 7:19-cv-00219-D Document 1 Filed 11/07/19 Page 19 of 22
plaintiffs as representative of the class of persons defined in ¶¶17(a)-

(c) above of this Complaint in a class action for back wages and
liquidated damages under N.C.Gen.Stat. §§ 95-25.4, 95-25.6, and 95-

25.13(1)-(2) pursuant to Rule 23(b)(3) of the Federal Rules of Civil

Procedure;
        (e)     Enter   judgment    under    the   FLSA    against    defendants   M.A.C.

Grading       Co.,   Christopher    Hales,   and   Melissa    D.     Hales,   jointly   and

severally, and in favor of the named plaintiffs and each member of the
collective action defined in ¶¶15-16 above for compensatory damages
against the defendants under the First Claim for Relief in an amount

equal to the total of the unpaid wages due the named plaintiffs and each

member of that same collective action under 29 U.S.C. §§ 207(a) and
216(b) for any workweek in which the named plaintiffs and each member of
that same collective action performed any of the work described in ¶¶9-

16, inclusive, and ¶¶24-41, inclusive, ¶43, ¶¶45-46, and ¶48 above of
this Complaint, plus an equal additional amount as liquidated damages
under 29 U.S.C. § 216(b), plus any interest in the manner and at the
rate authorized by law under 29 U.S.C. § 216(b);
        (f)     Enter   judgment    under    the NCWHA against defendants M.A.C.

Grading       Co.,   Christopher    Hales,   and   Melissa    D.     Hales,   jointly   and

severally, and in favor of the named plaintiffs and each member of the
class    action      defined   in   ¶¶17(a)-(c)    above    for    compensatory    damages

against the defendants under the Second Claim for Relief in an amount

equal to the total of the unpaid wages due the named plaintiffs and each
member of that same collective action under N.C.Gen.Stat. §§ 95-25.6,

95-25.13(1)-(2), 13 NCAC Tit. 12 §§ .0803 and .0805, and 95-25.22(a) for
any workweek in which the named plaintiffs and each member of that same

class action performed any of the work described in ¶¶9-14, 17(a)-(c),



                                             20


          Case 7:19-cv-00219-D Document 1 Filed 11/07/19 Page 20 of 22
and 24-42 above of this Complaint, plus an equal additional amount as

liquidated damages under N.C.Gen.Stat. § 95-25.22(a1), plus any interest
in the manner and at the rate authorized by N.C.Gen.Stat. § 95-25.22(a);

        (g)     in the alternative to the relief prayed for in ¶(e) above

under the FLSA, enter judgment under the NCWHA against defendants M.A.C.
Grading       Co.,   Christopher     Hales,     and   Melissa      D.    Hales,   jointly    and

severally, and in favor of the named plaintiffs and each member of the

class    action      defined   in    ¶¶17(a)-(c)      above      for    compensatory      damages
against the defendants under the Third Claim for Relief in an amount
equal to the total of the unpaid wages due the named plaintiffs and each

member    of     that   class       action     defined     in     ¶¶17(a)-(c)     above    under

N.C.Gen.Stat. §§ 95-25.4, 95-25.6, 95-25.13(1)-(2), 13 NCAC Tit. 12 §§
.0803 and .0805, and 95-25.22(a) for any workweek in which the named
plaintiffs and each member of that same class action performed any of

the work described in ¶¶9-14, 17(a)-(c), and 20-42, 44, 47, and 49-51,
inclusive, above of this Complaint, inclusive, above of the Complaint,
plus     an     equal    additional          amount   as        liquidated    damages      under
N.C.Gen.Stat. § 95-25.22(a1), plus any interest in the manner and at the
rate authorized by N.C.Gen.Stat. § 95-25.22(a);

        (h)     Award the named plaintiffs the costs of this action against

the defendants M.A.C. Grading Co., Christopher Hales, and Melissa D.
Hales, jointly and severally;

        (i)     Award the named plaintiffs reasonable attorney fees under and

N.C.Gen.Stat. §95-25.22(d) and 29 U.S.C. §216(b) against the defendants
M.A.C. Grading Co., Christopher Hales, and Melissa D. Hales, jointly and

severally;
        (j)     Award   prejudgment      and    post judgment interest against the

defendants M.A.C. Grading Co., Christopher Hales, and Melissa D. Hales,



                                                21


          Case 7:19-cv-00219-D Document 1 Filed 11/07/19 Page 21 of 22
jointly and severally, at the highest amount authorized by applicable

law   on    any   amount   of   monetary    damages   awarded   for   back   wages   as
requested in paragraph (f) and/or (g) of this Prayer for Relief based

upon such date(s) as may be appropriate under applicable law;

      (k)     Award such other relief as may be just and proper in this
action.




              This the 6th day of November, 2019.
                                           LAW OFFICE OF ROBERT J. WILLIS, P.A.

                                  BY:/s/Robert J. Willis
                                        Robert J. Willis
                                        Attorney at Law
                                        NC Bar #10730
                                        (mailing address)
                                        P.O. Box 1828
                                        Pittsboro, NC 27312
                                        Tel:(919)821-9031
                                        Fax:(919)821-1763
                                        488 Thompson Street
                                        Pittsboro, NC 27312
                                        Counsel for Plaintiffs
                                        rwillis@rjwillis-law.com




                                            22


           Case 7:19-cv-00219-D Document 1 Filed 11/07/19 Page 22 of 22
